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                         UNITED STATES DISTRICT COURT
                           DISTRICT ON CONNECTICUT

UNITED STATES
                                                 3:18-CR-00095(SRU)
v.

YEHUDI MANZANO                                   OCTOBER 11, 2018

                       DEFENDANT'S PROPOSED VOIR DIRE


     1. This case involves claims of sexual misconduct. Has anyone close to you

         ever been the victim of sexual misconduct?

     2. Has anyone close to you ever been accused of sexual misconduct?

     3. Claims of sexual misconduct have been widely reported on in the media in

         recent years. Is there anything about this coverage that will make it difficult for

         you to be a fair and impartial juror?

     4. Will you have difficulty in a case involving sexual misconduct giving the

        defendant the benefit of the presumption of innocence?

     5. In a case involving an allegation of sexual misconduct, as in all criminal

        prosecutions, the Government bears the complete and entire burden of proof.

        Can you follow that legal principle, or will you be inclined to believe the

        accuser simply because she is making an accusation?

     6. As jurors it is your sworn duty to apply the legal principles on which I instruct

        you to the evidence you hear in this courtroom. Notwithstanding that, you, as

        jurors, have the right to determine whether the Government has justly

        prosecuted Mr. Manzano for the crime charged in this case . Are you

        comfortable sitting in judgment over the Government's decision to prosecute,

        or will you be inclined to give the Government the benefit of the doubt?
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        7. Although it is the Court's responsibility, and not the jury's role, to impose

            punishment, you may learn about the consequences of a conviction in this

            case. Do you understand that one of your functions as jurors in judging

            whether the Government has justly proceeded in this prosecution is to

           determine whether the sentencing consequences of a conviction are fair, just

           and reasonable?

                                                    THE DEFENDANT



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                                      CERTIFICATION

          This is to certify that on October 11, 2018, a copy of the foregoing was filed
electronically. Notice of this filing will be sent, via e-mail, to all parties by operation of
the Court's electronic filing system, and the undersigned did cause to be sent, via First
Class U.S . mail, postage prepaid, a copy of the foregoing to all counsel and pro se
parties that do not have access to the Court's electronic filing system and to whom the
court directs the undersigned to send a hard copy via mail. Parties may access this
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